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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        x
In Re: New York City Policing During Summer 2020             Civil Action No.:
Demonstration                                                20-CV-8924
                                                             (CM) (OWO)
                                                        x

This filing is related to                                    Civil Action No.:
                                                             21-CV-0322
People v. City ofNew York, et aL                             (CM) (OWO)

                                                        x

                            ATTORNEY DECLARATION IN SUPPORT

         STEPHEN MC QUADE, an attorney admitted to practice in the United States District

Court for the Southern District of New York, declares, pursuant to 28 U.S.C. §1746, under the

penalty of perjury, the following:

         I.       I am Of Counsel with the law firm of Pitta LLP, counsel for Proposed Intervenor

Detectives Endowment Association (hereinafter “DEA” or “Union”) in the above-captioned

matter; and as such, I am fully familiar with the facts and circumstances set forth herein.

        2.        I submit the instant declaration in support of the Motion for Intervention, dated

March 3, 3021, filed on behalf of the DEA.

         3.       The factual basis upon which this Court may rely in deciding the instant

application is set forth in the Affidavit of Paul DiGiacomo, dated March 3, 2021, as he is the

President of the DEA (hereinafter “DiGiacomo Affidavit”), as well as the exhibits that are

annexed hereto. Annexed hereto as Exhibit 1 is a true and accurate copy of the DiGiacomo

Affidavit.

         4.       The collective bargaining agreement by and between the City of New York

(hereinafter “City”) and DEA covers the time period from April 1, 2012 to March 31, 2019, and


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is currently in status quo (hereinafter “CBA” or “Agreement”). Annexed hereto as Exhibit 2 is a

true and accurate copy of the Agreement.

        5.       Annexed hereto as Exhibit 3 is a true and accurate copy of the Consent Judgment

in Nunez v. City of New York, Docket No.: I 1-CV-5 845 (LTS) (JCF).

        6.       In that matter, a group of inmates filed a civil rights action against the City, as

well as the New York City Department of Correction (hereinafter “DOC”), which, pursuant to a

Consent Judgment entered therein, the Court, as well as a federal monitor, still oversee the

implementation of said judgment.

        7.       The Court in Nunez permanently altered the manner which DOC employees

handle uses of force incidents, outlined acceptable and unacceptable use of force tactics, set forth

disciplinary penalties for DOC employees, and created new predicates for discipline.

        8.       Practically, the Consent Judgment micromanaged the duties of a DOC employee

when confronted with a possible or actual                 use of force incident, so much so that these

individuals are told who they should alert to an incident, when to intervene in an incident, and

how to do so.

        9.       As a result of the Consent Judgment and the DOC’s new, Nunez-compliant use of

force policy, the three unions representing uniformed DOC employees who are most greatly

affected by the Consent Judgment in Nunez, the Correction Officers Benevolent Association, the

Correction Captains Association, and the Assistant Deputy Wardens/Deputy Wardens

Association, filed improper practibe petitions against the City and DOC with the New York City

Office of CoJlective Bargaining (hereinafter “OCB”).’


  In those improper practice petitions, those unions claim that the City and DOC breached its statutory obligation to
collectively negotiate in good faith regarding mandatory subjects of bargaining, in violation of § 12-306(a)(4) of the
New York City Collective Bargaining Law (New York City Administrative Code, Title 12, Chapter 3) (hereinafter
“NYCCBL”), In their defense, the City’ and DOC claim that those unions are prohibited from bargaining over the
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        10.      As of the date of the instant declaration, the Board has not ruled on these

petitions, although the evidentiary record has been closed and post-hearing briefs have been

submitted,

        11.      Nevertheless, that litigation should inform the Court that, since those unions were

not party to Nunez, the issuance of the Consent Judgment was simply the first step in protracted

litigation on multiple fronts.

        12.      As cited to in the accompanying memorandum of law, please find annexed to the

instant motion the following decisions of the New York City Board of Collective Bargaining

(hereinafter “BCB” or “Board”)2 that may not be readily searchable on Westlaw and/or Lexis, as

per Section V(D) of Your Honor’s Individual Practices and Procedures:

        13.      Annexed hereto as Exhibit 4 is a true and accurate copy of the BCB Decision in

District Council 37, 5 OCB2d 8 (BCE 2012).

        14.      Annexed hereto as Exhibit 5 is a true and accurate copy of the BCB Decision in

Unfr’ormedFfrefightersAssociatión, 10 OCB2d 5 (BCB 2017).

        15.      Annexed hereto as Exhibit 6 is a true and accurate copy of the BCB Decision in

Ut4formed Firefighters Association, 3 OCB2d 16 (BCB 2010).

        16.      Annexed hereto as Exhibit 7 is a true and accurate copy of the BCE Decision in

Sergeants Benevolent Association, 23 OCB 6 (BCB 1979).

         17.     Annexed hereto as Exhibit 8 is a true and accurate copy of the BCB Decision in

EMS Superior Officers Association, 79 OCB 7 (BCE 2007).


contents of the new, Nunez-compliantDOC use of force policy because the Consent Judgment precludes all
negotiations related thereto and because § 12-307(b) of the NYCCBL, the management rights provision, authorizes
the DOC to unilaterally implement said policy,
2 At the outset, the DEA would like to apprise this Court that the administrative decisions issued by the BCB can be
found either in the Administrative Materials library on Lexis or through a searchable database maintained on the
OCB’s website, which is: htto://www.ocb.ocb-nyc.ora/general-info.
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        18.      Annexed hereto as Exhibit 9 is a true and accurate copy of the BCB Decision in

Assistant Deputy Wardens/Deputy Wardens Association, 7 OCB2d 26 (BCB 2014).

        19.      Annexed hereto as Exhibit 10 is a true and accurate copy of the BCB Decision in

District Council 37, 4 OCB2d 19 (BCB 2011).

        20.      Annexed hereto as Exhibit 11 is a true and accurate copy of the BCB Decision in

Local 333, United Marine Division, 6 OCB2d 25 (BCB 2013),

        21.      Annexed hereto as Exhibit 12 is a true and accurate copy of the BCB Decision in

Correction Officers BenevolentAssociation, 49 OCB 40 (BCB 1992).

        22.      Annexed hereto as Exhibit 13 is a true and accurate copy of the BCB Decision in

Uniformed Firefighters Association, 49 OCB 39 (BCB 1992).

        23.      Annexed hereto as Exhibit 14 is a true and accurate copy of the BCB Decision in

EMS Superior Officers Associafloh, 75 0GB 15, at 16 (BCB 2005).

        24.      Annexed hereto as Exhibit 15 is a true and accurate copy of the BCB Decision in

Un~’ormed Firefighters Association, 43 OCB 70 (BCB 1989).

        25.      Finally, pursuant to Rule 24(c) of the Federal Rules of Civil Procedure, which

requires a proposed pleading be ~ubmitted in conjunction with a motion to intervene, annexed

hereto as Exhibit 16 is a true and accurate copy of the Proposed Answer to Plaintiff’s Complaint.

(See Dkt. 1)..

Dated: New York, New York
       March 3, 2021




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                                           PITTA LLP


                                           By:   __________________________


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